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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                    Case No. 23-cr-20269
                                                    Hon. Matthew F. Leitman
v.

DESHAWN LAPREACE LANDERS,

     Defendant.
__________________________________________________________________/


       ORDER DENYING DEFENDANT’S EMERGENCY MOTION
           FOR RELEASE FROM CUSTODY TO ATTEND
               BROTHER’S FUNERAL (ECF No. 27)


      Now before the Court is an emergency motion by Defendant Deshawn

Landers for release from custody to attend his brother’s funeral. For the reasons set

forth in the Government’s response to the motion (see Resp. ECF No. 28), the motion

is DENIED. Like the Government, the Court sympathizes with Landers for his loss

and does not take lightly denying Landers’ request to attend his brother’s funeral and

visitation. However, as set forth by the Government, Landers’ actions and words –

especially his expressed desire to die in a shootout rather than return to prison –

suggest that he would pose both a danger to the community and a serious risk of




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flight/non-appearance if released on bond. Under these circumstances, release is not

appropriate.

      IT IS SO ORDERED.

                                      /s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: February 21, 2024


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 21, 2024, by electronic means and/or ordinary
mail.

                                             s/Holly A. Ryan
                                             Case Manager
                                             (313) 234-5126




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